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                                                                                  United States District Court
                                                                                    Southern District of Texas

                           UNITED STATES DISTRICT COURT
                                                                                       ENTERED
                                                                                   September 29, 2023
                            SOUTHERN DISTRICT OF TEXAS
                                                                                    Nathan Ochsner, Clerk
                              CORPUS CHRISTI DIVISION

Amanda C. Bender                             §
                                             §
v.                                           §         Civil Action No. 2:23cv00246
                                             §
GM Law Firm, LLC                             §

                          ORDER FOR CONFERENCE AND
                       DISCLOSURE OF INTERESTED PARTIES

     1. Counsel for each party or each pro se party shall appear for an initial pretrial and
        scheduling conference before:

                      United States District Judge David S. Morales
                           on December 6, 2023, at 10:00 a.m.,
                           in the Third Floor Courtroom (319)
                            United States District Courthouse
                                1133 North Shoreline Blvd.
                               Corpus Christi, Texas 78401

     2. Counsel for each party shall file with the clerk within fifteen (15) days of the receipt
        of this Order, a certificate listing all persons, associations of persons, firms,
        partnerships, corporations, affiliates, parent corporations, or other entities that are
        financially interested in the outcome of this litigation. If a group can be specified
        by a general description, individually listing the group is not necessary. Underline
        the name of each corporation whose securities are publicly traded. If new parties
        are added or if additional persons or entities who are financially interested in the
        outcome of the litigation are identified at any time during the pendency of this
        litigation, then each counsel shall promptly file an amended certificate with the
        clerk.

     3. FED. R. CIV. P. 4(m) requires defendant(s) to be served within ninety (90) days after
        the filing of the complaint. Failure of plaintiff(s) to file proof of service within
        ninety (90) days after the filing of the complaint may result in dismissal of this
        action by the Court on its own initiative.

     4. After the parties meet as required by FED. R. CIV. P. 26(f), counsel shall prepare and
        file not less than fourteen (14) days before the Initial Pretrial Conference a joint
        report of meeting and joint discovery/case management plan containing the
        information required on the attached form (Instructions for Preparation of the Joint
        Report of the Meeting and Joint Discovery/Case Management Plan).

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5. The Court will enter a Scheduling Order and may rule on any pending motions at or
   before the Initial Pretrial Conference. See LOCAL RULE 7 regarding motion practice
   and submission dates. The attached Proposed Scheduling Order is a suggestion of
   dates sent by the Court for review by the parties; nevertheless, counsel must be
   prepared to justify any departures from the deadlines of the Proposed Scheduling
   Order.

6. Counsel who file(s) or remove(s) an action must serve a copy of this Order for
   Conference and Disclosure of Interested Parties and its attachments with the
   summons and complaint or with the notice of removal.

7. Attendance by an attorney who has authority to bind the party is required at the
   Initial Pretrial Conference.

8. Counsel shall discuss with their clients and each other whether alternative dispute
   resolution is appropriate and at the Pretrial Conference shall advise the Court of the
   results of their discussions.

9. In order to promote electronic access to case files while also protecting personal
   privacy and other legitimate interests, all parties must comply with General Order
   2003-4 of this Court by refraining from including, or redacting where inclusion is
   necessary, the following personal identifiers from all pleadings filed with the Court,
   including exhibits thereto, whether filed electronically or in paper form, unless
   otherwise ordered by the Court:
       a. Social Security numbers: If an individual’s social security number must be
          included in a pleading, only the last four digits of that number should be used.
       b. Names of minor children: If the involvement of a minor must be mentioned,
          only the initials of that child should be used.
       c. Dates of birth: If an individual’s date of birth must be included in a pleading,
          only the year should be used.
       d. Financial account numbers: If financial account numbers are relevant, only
          the last four digits of these numbers should be used.

   General Order 2003-4 does not apply to social security and financial account
   numbers in Bankruptcy Court filings and does not apply to any cases brought
   pursuant to Section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).

10. Failure to comply with this Order may result in sanctions, including dismissal of
   the action, entry of a default judgment, and/or assessment of fees and costs.

11. Pro Se Litigants are equally bound by the requirements imposed upon counsel in
   this Order.

                                                             By Order of the Court

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      Instructions for Preparation of the Joint Report of the Meeting and Joint
     Discovery/Case Management Plan Under Federal Rule of Civil Procedure 26

FED. R. CIV. P. 26 provides for required disclosures and discovery planning. The parties
are ordered to familiarize themselves with Rule 26 and to prepare a report of their meeting
and a case management plan as required by the Rule.

Please restate the following instructions when providing the requested information.

1.     State when the Rule 26 Conference of the parties was held and identify the counsel
       who attended for each party.

2.     List any cases related to the present action that are pending in any state or federal
       court, with the style, case number, court, and a brief description of the case.

3.     Briefly describe the pertinent facts and legal theories upon which the present action
       is based.

4.     Specify the allegation of federal jurisdiction. Indicate whether the parties agree or
       disagree with the allegation. If the parties disagree, indicate the nature of the
       disagreement.

5.     List any additional parties who may be included, when they can be added, and which
       party desires to bring them into the litigation. In diversity jurisdiction cases, this
       item is intended to trigger the disclosure requirement of TEX. CIV. PRAC. & REM.
       CODE § 33.004(d) and TEX. R. CIV. P. 194.2(b).

6.     List any anticipated interventions.

7.     If this is a class action, describe any issues regarding certification of the class.

8.     State whether each party represents that it has made the initial disclosures required
       by Rule 26(a). If not, describe the arrangements that have been made to complete
       the disclosures.

9.     Describe the proposed discovery plan the parties have agreed upon, including:

       A.     Responses to all the matters raised in Rule 26(f).

       B.     When and to whom Plaintiff(s) anticipate(s) sending interrogatories.

       C.     When and to whom Defendant(s) anticipate(s) sending interrogatories.
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      D.     When and from whom Plaintiff(s) anticipate(s) taking oral depositions.

      E.     When and from whom Defendant(s) anticipate(s) taking oral depositions.

      F.     When Plaintiff(s) (or the party with the burden of proof on an issue) will be
             able to designate experts and provide the reports required by Rule
             26(a)(2)(B), and when the opposing party will be able to designate
             responsive experts and provide their reports.

      G.     List expert depositions Plaintiff(s) (or the party or parties with the burden of
             proof on an issue) anticipate(s) taking and their anticipated completion date.

      H.     List expert depositions the opposing party or parties anticipate(s) taking and
             their anticipated completion date.

10.   If the parties do not agree on a part of the discovery plan, describe the separate views
      and proposals of each party.

11.   Specify the discovery, beyond initial disclosures, that has been undertaken to date.

12.   State the date the planned discovery can reasonably be completed.

13.   Describe the possibilities for a prompt settlement or resolution of the case that were
      discussed in the Rule 26 Conference, including the suitability of this case for
      mediation or other alternative dispute resolution. Include the anticipated date for
      the provision of a settlement demand by any party seeking affirmative relief.

14.   If all parties consent, a Federal Magistrate Judge may hear both jury and non-jury
      trials. Indicate whether or not all parties consent to a trial before a Magistrate Judge.
      (YES/NO)

15.   State whether a jury demand has been made, and if so, whether it was made on time.

16.   Specify the combined total number of hours it will take both parties to present the
      evidence in this case.

17.   List pending motions that could be ruled on at the Initial Pretrial Conference.

18.   List other pending motions.

19.   Indicate other matters peculiar to this case—including discovery—that deserve the
      special attention of the Court at the Initial Pretrial Conference.
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20.    Certify that all parties have filed Certificates of Interested Parties—as directed in
       the Order of Conference and Disclosure of Interested Parties—listing the date of
       filing for the originals and any amendments to the Certificates.

21.    List the names, bar numbers, addresses, telephone numbers, facsimile numbers, and
       electronic mail addresses of all counsel and pro se parties.

By each of our signatures below, Counsel represent that each understands that the Court
will rely on these representations in entering its Scheduling Order.




Counsel for Plaintiff(s)                  Date




Counsel for Defendant(s)                  Date




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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

Amanda C. Bender                            §
                                            §
v.                                          §         Civil Action No. 2:23cv00246
                                            §
GM Law Firm, LLC                            §

                          PROPOSED SCHEDULING ORDER

1. JURY SELECTION and TRIAL is set for September 23, 2024, at 8:30 a.m. before
   United States District Judge David. S. Morales at the United States District Courthouse,
   Third Floor Courtroom (319), 1133 N. Shoreline Blvd., Corpus Christi, Texas. If the
   parties are prepared for trial before this date, a Joint Motion and Proposed Order
   indicating that the case is ready for trial and requesting an earlier date may be filed with
   the Court. See below for information regarding usage of courtroom technology
   equipment.

     2. The deadline for JOINDER OF PARTIES AND AMENDMENT OF
        PLEADINGS is March 15, 2024. This provision does not relieve the parties from
        the requirement of obtaining leave to file the pleading or add parties whenever
        required by the Federal Rules of Civil Procedure (e.g., FED. R. CIV. P. 15(a)(2)).

     3. DESIGNATION OF EXPERTS BY PLAINTIFFS must take place on or before
        March 15, 2024. DESIGNATION OF EXPERTS BY DEFENDANTS must take
        place on or before April 15, 2024. Written reports by experts under
        FED. R. CIV. P. 26(a)(2)(B) are due at the time of designation of each expert. Parties
        are ordered to file only a list of proposed witnesses with the Court pursuant to Rule
        26, but NOT reports or other discovery materials.

     4. A DEMAND LETTER must be presented to Defendant(s) no later than March 29,
        2024, and a RESPONSE is due thirty (30) days after receipt of the demand letter.
        The parties shall not file the demand or response with the Court; however, a
        STATEMENT OF INTENT REGARDING MEDIATION must be filed with the
        Court on May 15, 2024.

     5. DISCOVERY shall end on May 15, 2024.

     6. Except for good cause, the deadline for filing all DISPOSITIVE AND DAUBERT
        MOTIONS is on June 14, 2024. Pursuant to Local Rule 7.4, failure to respond by
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   the submission date provided by the Local Rules or as modified by the Court will
   be considered by the Court as if the motion is unopposed, and the motion may be
   granted.

7. A STATUS CONFERENCE will be held on July 11, 2024, at 10:00 a.m. The
   Parties should be prepared to discuss discovery, any pending motions, any
   additional motions anticipated by the parties, the possibility of settlement, and
   mediation.

8. The parties’ JOINT PRETRIAL ORDER, together with WITNESS LISTS,
   EXHIBIT LISTS, MOTIONS IN LIMINE, and DESIGNATION OF
   DEPOSITION EXCERPTS FOR WITNESSES BEING CALLED BY
   DEPOSITION shall be filed no later than August 28, 2024. Plaintiff(s) will be
   responsible for the filing of a Joint Pretrial Order, executed by the attorney-in-
   charge for each party, and conforming fully with the form set out in Appendix B of
   the Local Rules of the Southern District of Texas. This satisfies the requirements
   of FED. R. CIV. P. 26(a)(3). Plaintiff(s) shall allow all parties at least fifteen (15)
   business days for review and contribution. In the event of any failure to cooperate
   in signing the Joint Pretrial Order, a party may file, by the Joint Pretrial Order
   deadline, a motion for leave to file a Joint Pretrial Order without the signature of all
   counsel, showing good cause. Differences of the parties concerning any matter
   relevant to a pretrial order will be set forth in the Joint Pretrial Order at the ap-
   propriate place. Willful or indifferent failure to submit a well-prepared Joint Pretrial
   Order in a timely fashion or to respond to its completion is cause for dismissal in
   the case of Plaintiff, or in the case of Defendant, is cause for default.
9. DISPUTES REGARDING MATTERS ACCOMPANYING JOINT
   PRETRIAL ORDER. Parties are ordered to confer regarding the substance of
   motions in limine, exhibit and witness lists, deposition excerpts, and any other
   documents submitted with the Joint Pretrial Order to resolve matters on which the
   parties can agree so that the Court’s attention is directed only to specific matters in
   genuine dispute. Parties are ordered to file with the Court a notice identifying any
   remaining objections to those documents no later than September 4, 2024.

10. FINAL PRETRIAL CONFERENCE is set for September 11, 2024 at 10:00
   a.m. before United States District Judge David S. Morales at the United States
   District Court, Third Floor Courtroom (319), 1133 N. Shoreline Blvd., Corpus
   Christi, Texas. The attorney-in-charge for each party is required to be present.

11. MOTION PRACTICE. All pleadings, motions, briefs, memoranda, and requests
   for affirmative relief will be directed to the Court in pleading form, not
   correspondence form, through the United States District Clerk in Corpus Christi,
   Texas:
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                           United States District Clerk
                             Corpus Christi Division
                           Southern District of Texas
                             1133 N. Shoreline Blvd.
                            Corpus Christi, TX 78401

   a. You are requested NOT to use the informality of letter briefs, letters citing
      authorities, or letters requesting continuances or other affirmative relief.
      Additionally, do not copy the Court on letters between the parties.
   b. Local Rule 7 provides rules and deadlines for pre-trial motions. Counsel must
      familiarize themselves with this rule.
   c. Certificates of conference are required on most pre-trial motions.
   d. Failure to respond within the deadline may result in the granting of the relief
      requested.
   e. In addition to the provisions of Local Rule 7, this Court ORDERS that legal
      memoranda, including motions and responses, greater in length than twenty-five
      (25) pages shall NOT be filed without leave of Court. Page limits may not be
      circumvented by filing multiple separate motions seeking the same or similar
      relief, font less than 12-point (13-point font or larger is preferred), margins less
      than one inch, line spacing less than double (with the exception of appropriate
      block indents and footnotes), or excessive use of footnotes. If deposition
      testimony is attached as an exhibit, it shall be submitted in the condensed or
      mini-script format, i.e., four pages to one page.
   f. Replies in support of motions of no more than ten (10) pages may be filed with
      this Court without first obtaining leave of Court. However, the Court may in its
      discretion rule on a motion without awaiting any reply. Any party planning to
      file a reply should file a notice of intention along with the date by which the
      reply will be filed so that the Court may schedule its workload accordingly.
   g. Any additional memoranda (such as sur-replies) are not permitted without leave
      of Court and may not exceed five (5) pages absent specific relief from the page
      limitation.
12. PREMOTION CONFERENCE REQUIREMENT FOR DISCOVERY
   MOTIONS. Any party wishing to make any discovery motions must arrange for a
   premotion conference with the Court before the preparation and submission of any
   motion papers. That includes a motion to compel, to quash, for protection, or for
   sanctions. Email Ms. Rodriguez at Arlene_Rodriguez@txs.uscourts.gov to arrange
   for a premotion conference. Notify your adversary of the date and time for the
   conference. Failure to comply with the premotion conference requirement may
   result in the Court striking the motion without notice.
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13. IT EQUIPMENT. The courtroom is equipped with computer technology for
   displaying images on a large screen and on monitors for the judge, jury, and witness.
   However, attorneys who plan to use that equipment must know in advance how the
   equipment works and which type of equipment is compatible with the system.
   Attorneys must arrange with the Case Manager at least one day in advance of the
   use of the equipment for hearing or for trial to familiarize themselves with the
   system. As technology is always changing, attorneys should check with the Case
   Manager each time use is requested. Failure to do so will not be permitted to delay
   the proceedings or the Court’s docket.




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